                       Case 4:09-cr-00251-BSM                   Document 150              Filed 08/06/10        Page 1 of 6
A0245B        (Rev. 09/08) Judgment in a Criminal Case
              Sheet 1
                                                                                                                         FILED
                                                                                                                       US. DISTRICT COURT
                                                                                                                 Ei'iUiRIIll18"l'ftiCI ;dZiW:;SAS


                                          UNITED STATES DISTRICT COURT
                                                         Eastern District of Arkansas                     JAMES N\1~'~~ff\                  VL.LL ......

                                                                                                          By:_.....p...~~~t/lf.:,t.~~4-
                                                                          )
              UNITED STATES OF AMERICA                                    )       JUDGMENT IN A CRIMINAL CASE
                                  v.                                      )
                   MELINDA KAY LAPACH                                     )
                                                                          )       Case Number: 4:09CR00251-03 BSM
                                                                          )       USM Number: 25599-009
                                                                          )
                                                                          )        Patrick J. Benca
                                                                                  Defendant's Attorney
THE DEFENDANT:
!t'pleaded guilty to count(s)          1 of the Indictment

D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:




       The defendant is sentenced as provided in pages 2 through           __6__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
[] The defendant has been found not guilty on count(s)
[] Count(s)
               -------------
                                                         D is      D are dismissed on the motion of the United States,
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in economIC circumstances.

                                                                              8/3/2010




                                                                          Signature of Judge




                                                                              BRIAN S. MILLER                           U.S. DISTRICT JUDGE
                                                                          Name of Judge                                Title of Judge




                                                                          Date
                      Case 4:09-cr-00251-BSM                 Document 150            Filed 08/06/10         Page 2 of 6
AO 2458    (Rev. 09/08) Judgment in Criminal Case
           Sheet 2 - Imprisonment

                                                                                                     Judgment -   Page _-=2~ of   6
DEFENDANT: MELINDA KAY LAPACH
CASE NUMBER: 4:09CR00251-03 8SM


                                                           IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total tenn of:
  FORTY-ONE (41) MONTHS




     r;t The court makes the following recommendations to the Bureau of Prisons:
  Defendant shall participate in residential substance abuse treatment, mental health treatment, and educational and
  vocational programs during incarceration.


     r;t The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
       o at                                  0 a.m.        o p.m. on
       o as notified by the United States Marshal.
     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before 2 p.m. on
       o as notified by the United States Marshal.
       o as notified by the Probation or Pretrial Services Office.

                                                                  RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                         to

 a                                                  , with a certified copy of this judgment.
     ---------------


                                                                                                   UNITED STATES MARSHAL



                                                                          By                  -----:::====::-;;;:;::-:-=~~~_;__----
                                                                                                DEPUTY UNITED STATES MARSHAL
                          Case 4:09-cr-00251-BSM                Document 150             Filed 08/06/10          Page 3 of 6
AO 2458        (Rev. 09/08) Judgment in a Criminal Case
               Sheet 3 - Supervised Release


DEFENDANT: MELINDA KAY LAPACH                                                                               Judgment-Page   _~_ of               6
CASE NUMBER: 4:09CR00251-038SM
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
 THREE (3) YEARS

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours ofrelease from the
custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.
 D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, ifapplicable.)

          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, ifapplicable.)
          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, ifapplicable.)

          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
 D        as direc~ed by the probation offi~er, the Bureal;l of Prisons, or any state sex offender registration agency in which he or she resides,
          works, IS a student, or was convicted of a qualIfymg offense. (Check, ifapplicable.)

 D        The defendant shall participate in an approved program for domestic violence. (Check, ifapplicable.)
         If this judgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
            each month;
     3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)     the defendant shall support his or her dependents and meet other family responsibilities;
     5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            acceptable reasons;
     6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)    the defendant shall not associate with any Rersons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observea in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and

  13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or p-ersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
                   Case 4:09-cr-00251-BSM            Document 150           Filed 08/06/10       Page 4 of 6
AO 2458   (Rev. 09/08) Judgment in a Criminal Case
          Sheet 3C - Supervised Release

                                                                                             Judgment-Page    4     of       6
DEFENDANT: MELINDA KAY LAPACH
CASE NUMBER: 4:09CR00251-03 BSM

                                        SPECIAL CONDITIONS OF SUPERVISION
 1. The defendant shall participate, under the guidance and supervision of the probation officer, in a substance abuse
 treatment program which may include testing, outpatient counseling, and residential treatment. Further, the defendant
 shall abstain from the use of alcohol throughout the course of treatment. This is based upon alcohol abuse indicated in the
 presentence report.

 2. The defendant shall participate in mental health counseling under the guidance and supervision of the U.S. Probation
 Office.

 3. Pursuant to 12 U.S.C. §§ 1785 and 1829, the defendant shall not obtain employment in an institution insured by the
 FDIC or a Federal Credit Union.

 4. The defendant shall disclose financial information upon request of the U.S. Probation Office, including, but not limited
 to, loans, lines of credit, and tax returns. This also includes records of any business with which the defendant is
 associated. No new lines of credit shall be established without prior approval of the U.S. Probation Office until all criminal
 penalties have been satisfied.

 5. Restitution of $36,050.00 is mandatory and is payable during incarceration and supervised release. During
 incarceration, the defendant will pay 50 percent per month of all funds that are available to him. During residential re-entry
 placement, payments will be reduced to 10 percent of the defendant's gross monthly income. Beginning the first month of
 supervised release, payments will be 10 percent per month of the defendant's monthly gross income. The interest
 requirement is waived. Restitution shall be joint and several with Brian Osborne, Darrell Lapach, Melinda Lapach, Angela
 Bebout, Albert Johnson, Jr., Otis Reynolds, and any other person who has been or will be convicted on an offense for
 which restitution to the same victim on the same loss is ordered.

 6. The defendant is not a legal resident of this district, therefore, the period of supervised release is to be administered by
 the district where the defendant is a legal resident and/or the district where a suitable release plan has been developed.
AO 245B
                     Case 4:09-cr-00251-BSM
          (Rev. 09/08) Judgment in a Criminal Case
                                                               Document 150           Filed 08/06/10              Page 5 of 6
          Sheet 5 - Criminal Monetary Penalties

                                                                                                     Judgment -   Page _ _5
                                                                                                                          __    of      6
DEFENDANT: MELINDA KAY LAPACH
CASE NUMBER: 4:09CR00251-03 BSM
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                    Assessment                                       Fine                                  Restitution
 TOTALS           $ 100.00                                         $ 0.00                                $ 36,050.00


 D The determination of restitution is deferred until - - - ­          . An Amended Judgment in a Criminal Case (AD 245C) will be entered
     after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664{I), all nonfederal victims must be paid
     before the United States is paId.




 TOTALS                              $ - - - - - - - 0.00                  $                        0.00
                                                     --                        ---------

 D    Restitution amount ordered pursuant to plea agreement $
                                                                      ----------

 D    The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 r;t The court determined that the defendant does not have the ability to pay interest and it is ordered that:
     r;t the interest requirement is waived for the D fme r;t restitution.
      D the interest requirement for the             D   fme   0   restitution is modified as follows:



 * Findings for the total amount oflosses are required under Chapters 109A, 110, 11 OA, and I13A ofTitle 18 for offenses committed on or after
 Septemoer 13, 1994, but before April 23, 1996.
AD 2458
                      Case 4:09-cr-00251-BSM
           (Rev. 09/08) Judgment in a Criminal Case
                                                                Document 150             Filed 08/06/10            Page 6 of 6
           Sheet 6 - Schedule of Payments

                                                                                                             Judgment - Page       6     of           6
DEFENDANT:                  MELINDA KAY LAPACH
CASE NUMBER:                4:09CR00251-03 BSM

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     X    Lump sum payment of$            100.00              due immediately, balance due

           D     not later than                                     , or
           X     in accordance           D C,         D D,     D      E, or    X F below; or

 B    D    Payment to begin immediately (may be combined with                 DC,        D D, or      D F below); or
 C    D    Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                             over a period of
          _ _ _ _ _ (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D    D    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    D    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment ofthe defendant's ability to pay at that time; or

 F    X    Special instructions regarding the payment of criminal monetary penalties:
           During incarceration, the defendant will pay 50 percent per month of all funds that are available to him. During residential
           re-entry placement, payments will be reouced to 10 percent of the defendant's gross monthly income. Beginning the ftrst month of
           supervIsed release, pa~ents will be 10 percent per month of the defendant's monthly gross income. The interest requirement is
           waived. Restitution shall be joint and several witn Brian Osborne, Darrell Lapach, Melinda Lapach, Angela Bebout, "Stephen
           Bryant, Otis Reynolds, & an)' other person who has been or will be convicted on an offense for which restitution to the same
           victim on the same loss is oraered.

 Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
 imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 X    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.
      4:09cr251-01 - Brian Elden Osborne; 4:09cr25 1-02 - Darrell Wayne Lapach; 4:09cr25 1-03 - Melinda Kay Lapach; 4:09cr25 1-04 ­
      Angela Marie Bebout; 4:09cr25 1-05 - Stephen Jeremy Bryant; 4:09cr25 1-06 - Albert Leon Johnson, Jr.; 4:09cr25 1-07 - Otis Paul
      Reynolds.


 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Pa~ents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
 (5) fme interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
